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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JERMAR TRAMEL
SWILLEY,
                                              Case No. 2:20-cv-11404
               Plaintiff,                     Magistrate Judge Anthony P. Patti

v.

COMMISSIONER OF
SOCIAL SECURITY,

           Defendant.
___________________________________/

                                   JUDGMENT

        In accordance with the opinion and order denying Plaintiff’s motion for

summary judgment and granting Defendant’s motion for summary judgment

entered on October 12, 2021,

        It is ORDERED AND ADJUDGED that judgment is granted in favor of

Defendant and against Plaintiff.

        It is further ORDERED AND ADJUDGED that the determination of the

Commissioner of Social Security is AFFIRMED and that the complaint is

DISMISSED with prejudice.

        IT IS SO ORDERED.
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Dated: October 12, 2021


                                   s/Anthony P. Patti
                                   UNITED STATES MAGISTRATE JUDGE


Dated: October 12, 2021


                                   s/Michael Williams
                                   CASE MANAGER FOR THE
                                   HONORABLE ANTHONY P. PATTI
